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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

     KEMARI AVERETT,                                                                        Plaintiff,

     v.                                                          Civil Action No. 3:19-cv-116-DJH

     SHIRLEY ANN HARDY, et al,                                                           Defendants.

                                              * * * * *

                                               ORDER

          Plaintiff Averett filed a document (DN 42-1) which contains the following personal

 identifier:

          DATES OF BIRTH (Only the year of birth may be identified)

 Pursuant to Rule 5.2(a) of the Federal Rules of Civil Procedure, personal data identifiers must be

 redacted.

          Accordingly, the Clerk of Court is DIRECTED to RESTRICT electronic access to this

 document (DN 42-1) to Court users and participants in the case.

          IT IS ORDERED that the Plaintiff shall file a motion to seal the document or a motion

 seeking leave to file a redacted version of the document along with a copy of the redacted version

 within seven (7) days of entry of this Order1.




 1Single pages contained with documents cannot be replaced by the Clerk. Therefore, the entire redacted
 document must be filed with the motion seeking leave to file a redacted version of the document.

                                                   1
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        IT IS FURTHER ORDERED that once the Plaintiff files a motion seeking leave to file

 a redacted version of the document, the motion will be GRANTED, and the Clerk will replace the

 document containing personal identifiers with the redacted version.

        Dated: June 20, 2019



                                          ENTERED BY ORDER OF COURT
                                          DAVID J. HALE, JUDGE
                                          UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF KENTUCKY


                               By:        /s/ Natalie W. Thompson
                                          Natalie W. Thompson, Deputy Clerk

 cc:    Counsel of Record




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